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                      RECOMMENDATION TERMINATING
               SUPERVISED RELEASE PRIOR TO EXPIRATION DATE


                          UNITED STATES DISTRICT COURT
                                    FOR THE
                         EASTERN DISTRICT OF CALIFORNIA



UNITED STATES OF AMERICA                    )
                                            )
                             vs.            )       Docket Number: 2:98CR00068-03
                                            )
Leticia MCNEALEY                            )
                                            )


LEGAL HISTORY:

On April 17, 2002, the above-named was sentenced to 120 months custody in the Bureau
of Prisons to be followed by a term of Supervised Release for a period of 36 months, which
commenced on October 20, 2006. Special conditions included: Warrantless search;
Financial disclosure; Credit restrictions; Drug and alcohol treatment program; Co-payment
for treatment program; Pager/cell phone restrictions; and $100 special assessment.


SUMMARY OF COMPLIANCE:

Ms. McNealey has complied with all conditions and special conditions of Supervised
Release, and has not been involved in any further criminal activities. It is the opinion of the
probation officer that Ms. McNealey has derived maximum benefit from supervision and
is not in need of continued supervision.




                                                                                         Rev. 04/2007
                                                1           EARLY TERMINATION ~ RECOMMENDATION.MRG
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RE:      Leticia MCNEALEY
         Docket Number: 2:98CR00068-03
         RECOMMENDATION TERMINATING
         SUPERVISED RELEASE PRIOR TO EXPIRATION DATE


RECOMMENDATION:

It is, therefore, respectfully recommended that Supervised Release in this case be
terminated early.

                                         Respectfully submitted,


                                       /s/ Richard W. Elkins
                                      RICHARD W. ELKINS
                              Senior United States Probation Officer


Dated:           May 11, 2009
                 Elk Grove, California
                 RWE/cj


REVIEWED BY:                /s/ Deborah A. Spencer
                          DEBORAH A. SPENCER
                          Supervising United States Probation Officer


cc:      AUSA (To be assigned) (Pursuant to Rule 32, notice of proposed relief to the supervisee is being
         provided. If no objection is received from you within 14 days, the probation officer's Recom m endation
         and Prob 35-Order Term inating Supervised Release Prior to Expiration Date, will be subm itted to the
         Court for approval.)




                                                                                                    Rev. 04/2007
                                                       2               EARLY TERMINATION ~ RECOMMENDATION.MRG
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P R O B 35           ORDER TERMINATING SUPERVISED RELEASE
                           PRIOR TO EXPIRATION DATE


                           UNITED STATES DISTRICT COURT
                                     FOR THE
                          EASTERN DISTRICT OF CALIFORNIA



UNITED STATES OF AMERICA                         )
                                                 )
                            vs.                  )     Docket Number: 2:98CR00068-03
                                                 )
Leticia MCNEALEY                                 )
                                                 )


On October 20, 2006, the above-named was placed on Supervised Release for a period of
36 months. She has complied with the rules and regulations of supervision. It is accordingly
recommended that she be discharged from supervision.

                                   Respectfully submitted,


                                   /s/ Richard W. Elkins
                                  RICHARD W. ELKINS
                          Senior United States Probation Officer


Dated:         May 11, 2009
               Elk Grove, California
               RWE/cj


REVIEWED BY:           /s/ Deborah A. Spencer
                     DEBORAH A. SPENCER
                     Supervising United States Probation Officer




                                                                                                        R ev. 05/2006
                                             3               E A R LY T E R MIN A T IO N ~ O R D E R (P R O B 35).M R G
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RE:   Leticia MCNEALEY
      Docket Number: 2:98CR00068-03
      ORDER TERMINATING SUPERVISED RELEASE
      PRIOR TO EXPIRATION DATE




                                      ORDER OF COURT

It is ordered that the supervised releasee be discharged from Supervised Release, and that
the proceedings in the case be terminated.

   06/02/2009                                   /s/ John A. Mendez
Date                                            John A. Mendez
                                                United States District Judge

RWE/cj

Attachment: Recommendation

cc: United States Attorney's Office




                                                                                                       R ev. 05/2006
                                            4               E A R LY T E R MIN A T IO N ~ O R D E R (P R O B 35).M R G
